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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Scott T. Varholak

Civil Action: 25-cv-00516-CNS-STV                            Date: April 29, 2025
Courtroom Deputy: Sonia Chaplin                              FTR – Reporter Deck-Courtroom A402

 Parties:                                                      Counsel:

 IXONIA BANK,                                                  Ryan Matthew Sugden

      Plaintiff,

 v.

 TEXANA BANK NA,                                               Michael P. Elkon
 SCOTT SAX and
 MICHAEL COLLINS,

      Defendants.


                         COURTROOM MINUTES/MINUTE ORDER

STATUS CONFERENCE
Court in session: 9:27 a.m.
Court calls case. Appearances of counsel.

This matter is before the Court for a status of the case.

Statements by counsel.

For the reasons stated on the record, it is:

ORDERED:                Scheduling Conference is set for June 3, 2025 at 11:30 a.m. in
                        Courtroom A 402 before Magistrate Judge Scott T. Varholak. Telephonic
                        appearances will be permitted. All parties that wish to participate in the
                        Hearing by telephone may do so by calling 571-353-2301 at the scheduled
                        time and utilizing Meeting ID: 252821415#. The participants may hear the
                        conclusion of a prior hearing at the time they call in and are instructed to
                        simply wait until their case is called.

                        Parties shall file a proposed scheduling order on or before May 27, 2025.


HEARING CONCLUDED.
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Court in recess:     9:29 a.m.
Total time in court: 00:02

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